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    8
    9
   10                           UNITED STATES DISTRICT COURT
   11        CENTRAL DISTRICT OF CALIFORNIA - EASTERN DIVISION
   12 JOSEPH DIAZ, JR.,                          CASE NO. 5:20-cv-02332-JWH-KK
   13              Plaintiff,                    NOTICE OF MOTION AND
                                                 COMBINED MOTION TO DISMISS
   14        v.                                  FOR FAILURE TO STATE A CLAIM
                                                 UPON WHICH RELIEF CAN BE
   15 RALPH HEREDIA, true name                   GRANTED PURSUANT TO RULE
      RAFAEL HEREDIA TARANGO,                    12(b)(6) AND SPECIAL MOTION TO
   16 a/k/a RAFAEL HEREDIA, a/k/a                STRIKE DEFENDANTS’
      RAFAEL BUSTAMANTE; JOHN                    COUNTERCLAIMS AS STRATEGIC
   17 DOE, ESQ.; and JANE DOES 1                 LAWSUITS AGAINST PUBLIC
      through 20, inclusive,                     PARTICIPATION PURSUANT TO
   18                                            CODE OF CIVIL PROCEDURE
                   Defendants.                   §425.16
   19
   20                                            [Submitted concurrently herewith:
   21                                            [Proposed] Order; Declaration of Andrew
                                                 D. White]
   22
   23                                            Date:          December 16, 2022
                                                 Time:          9:00 a.m.
   24                                            Courtroom:     9D
   25                                            Judge:         Hon. John W. Holcomb
   26                                            Discovery Cut-Off Date: August 19, 2022
                                                 Pre-Trial Conference Date: Nov. 18, 2022
   27                                            Trial Date: December 5, 2022
   28


                                    PLAINTIFF’S MOTION TO DISMISS AND SPECIALMOTION TO STRIKE
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    1 TO THE COURT AND TO ALL PARTIES AND THEIR ATTORNEYS OF
    2 RECORD:
    3         PLEASE TAKE NOTICE that on December 16, 2022 at 9:00 a.m., or as soon
    4 thereafter as the matter may be heard, in courtroom 9D before the Honorable John W.
    5 Holcomb, located at 411 W. 4th Street, Santa Ana, California 92701-4516, Plaintiff
    6 Joseph Diaz, Jr. shall, and hereby does, move pursuant to California Code of Civil
    7 Procedure Section 425.16 (“the anti-SLAPP statute”) and Federal Rule of Civil
    8 Procedure 12(b)(6) (“Rule 12(b)(6)”), to strike and dismiss Defendants Ralph Heredia
    9 (“Heredia”) and Heredia Boxing Management’s (“HBM”) (collectively “Defendants”)
   10 Counterclaims (Dkts. 145 & 146). Plaintiff also respectfully requests an award of
   11 attorneys’ fees in the amount of $12,075.00 for the attorneys’ fees and costs spent in
   12 preparing this anti-SLAPP motion to strike. (White Decl. ¶¶15-16.)
   13         Good cause exists to grant this motion. Defendants wholly fail to state a claim
   14 upon which relief may be granted such that the Counterclaims must be dismissed.
   15 Because Defendants cannot meet their burden to show a probability of prevailing on
   16 the merits, as fully detailed in this Motion, the Counterclaims must also be stricken.
   17         This motion is made following significant but unsuccessful efforts by Plaintiff
   18 to meet and confer with Defendants’ counsel pursuant to Local Rule (“LR”) 7-3 due to
   19 Defendants refusal to engage in meet and confer discussions. As detailed in the
   20 Declaration of Andrew D. White, Plaintiff made significant efforts to hold a meet and
   21 confer conference with Defendants in an effort to reach a resolution of the issues raised
   22 by this motion. (White Decl. ¶¶2-13) Although Plaintiff complied with LR 7-3,
   23 Defendants refused to engage in meet and confer discussions requiring the filing of this
   24 motion.
   25         This motion is based upon this Notice of Motion and Motion, the accompanying
   26 memorandum of points and authorities, the Declaration of Andrew D. White, the
   27 [Proposed] Order, the pleadings, records and papers filed in this action, and such other
   28 and further evidence as may be presented at or before the hearing on this motion.


                                   PLAINTIFF’S MOTION TO DISMISS AND SPECIAL MOTION TO STRIKE
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    1
    2 Dated: October 28, 2022       VGC, LLP
    3                                      By:   /s/ Andrew D. White
    4
                                           James L. Greeley
    5                                      Diyari Vázquez
                                           Andrew D. White
    6                                      Gina Simas
    7                                      Attorneys for Plaintiff
                                           JOSEPH DIAZ, JR.
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                                                        PLAINTIFF’S MOTION TO DISMISS AND SPECIAL MOTION TO STRIKE
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     1                MEMORANDUM OF POINTS AND AUTHORITIES
         I.    INTRODUCTION
     2
     3         Plaintiff Joseph Diaz, Jr. (“Plaintiff” or “Diaz”) commenced this action in state
     4 court when he filed a complaint on October 7, 2020, in the Superior Court for San
     5 Bernardino County, California. After being removed to this Court the next month, the
     6 parties have been actively litigating this case for the past two plus years, engaging in
     7 written discovery, taking depositions, filing various motions and attending hearings
     8 before this Court. During this time, Defendants Ralph Heredia (“Heredia”) and Heredia
     9 Boxing Management (“HBM”) (collectively, “Defendants”) never raised the
    10 possibility of filing a Counterclaim in this matter. Nevertheless, in response to the
    11 Second Amended Complaint (“SAC”) filed by Diaz on September 2, 2022, Defendants
    12 filed an answer and first Counterclaim against Plaintiff. [See Dkts. 145 & 146]
    13        Defendants admit that they bring their Counterclaims in retaliation for Plaintiff
    14 exercising his constitutional right to file a lawsuit against Defendants and his First
    15 Amendment right to free speech. California’s anti-SLAPP statute applies because the
    16 challenged acts giving rise to the Counterclaims are in furtherance of free speech, are
    17 protected litigation activity, and are in connection with matters of public interest. The
    18 allegations in the Counterclaims are rife with unsubstantiated, defamatory and
    19 salacious claims which are clearly filed with the intention to promote public scandal,
    20 circulate defamatory statements about Plaintiff and his counsel and publicize Diaz’s
    21 private and confidential information. Defendants wholly fail to state a claim upon
    22 which relief may be granted such that the Counterclaims must be dismissed. Because
    23 Defendants cannot meet their burden to show a probability of prevailing on the merits,
    24 as fully detailed in this Motion, the Counterclaims must also be stricken.
    25 II.    STATEMENT OF FACTS APPLICABLE TO THIS MOTION
    26         Defendant Heredia describes the nature of his counterclaims against Diaz as
    27 resulting from Heredia’s (erroneously) belief that Diaz “maliciously prosecuted this
    28 action against Heredia, knowing it to be false and only for purposes of harassment and
                                                   1
                                    PLAINTIFF’S MOTION TO DISMISS AND SPECIAL MOTION TO STRIKE
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     1 to dismantle his reputation ….” “Heredia was unaware that Diaz would be filing suit
     2 against him. Instead of resolving this as a professional Diaz decided to welch on his
     3 obligations and attempt to intimidate Heredia into submission.” (Dkt 146 ¶ 137.)
     4 Similarly, Defendant HBM describes the nature of its counterclaims as arising from
     5 Diaz’s purported “malicious[] prosecut[ion of] this action against HBM” and
     6 statements that Diaz purportedly made to the mediation and in connection with this
     7 (and other) litigation. (Dkt 145 ¶ 136.)
     8        Defendant Heredia has asserted causes of action in the Counterclaim for (1)
     9 Breach of Oral Contract, (2) Attempted Extortion, (3) Abuse of Process, (4)
    10 Defamation, (5) Fraudulent Inducement, and (6) Accounting. Defendant HBM has
    11 asserted three causes of action for (1) Abuse of Process, (2) Defamation/Business
    12 Disparagement, and (3) Accounting. Defendants support their allegations by attacking
    13 Diaz for engaging in protected activity. Defendants allege, among other things:
    14           • VGC and Diaz implemented a strategy whereby Diaz could …
                   conterminously wage asymmetrical “warfare” against the Heredias’
    15             reputation in the boxing community through blatant falsehoods
    16             promulgated in this frivolous lawsuit ... (Dkt. No. 146 ¶ 158; Dkt No.
                   145 ¶ 158.)
    17           • Diaz’s declaration under oath, submitted in support of the arbitration
    18             proceedings, accuses Ralph and Moses Heredia of stealing. Notably,
                   however, his allegations are all couched in language reflecting that his
    19             statements are made under the advice and direction of counsel (“my
    20             attorneys have informed me…;” “my attorneys have also informed
                   me…;” “prior to engaging my attorneys, I did not understand the legal
    21             and practical significance…”). It has become apparent that Diaz was
    22             instructed to make these accusations not because they were true but
                   because they supported the concocted legal strategy, one designed to
    23             extort, demoralize, and disparage the Heredias into submission and to
    24             walk away from the Boxer-Management Contract and provide Diaz
                   cover so that he could avoid the consequences of his blatant breach (i.e.,
    25             his contract with MTK) and not have to pay back his debts – a modern
    26             day welch scam of titanic proportions. (Dkt. No. 146 ¶ 159; Dkt No. 145
                   ¶ 159.)
    27           • To understand how insidious the scheme evidenced in this litigation is…
    28             Through this lens, it becomes clear that Diaz’s allegations regarding the
                   Heredias, which he knew to be false, were made for the sole purpose of
                                                  2
                                    PLAINTIFF’S MOTION TO DISMISS AND SPECIAL MOTION TO STRIKE
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     1              harming Heredia’s reputation and preventing him from securing other
                    fighters in the industry. (Dkt. No. 146 ¶¶ 160-161; Dkt No. 145 ¶¶ 160-
     2              161.)
     3            • Statements from the Arbitration Transcripts Show Diaz’s Knowing
                    Mendacity (Dkt. No. 146 at p. 45, ¶¶ 163-166; Dkt. No. 145 at p. 52, ¶¶
     4              163-166)
     5            • Diaz knowingly filed a meritless action against Heredia to damage
                    Moses and Ralph Heredia’s reputation within the boxing and managerial
     6              industry. (Dkt. No. 146 ¶ 197; Dkt. No. 145 ¶ 197.)
     7            • Additional False Allegations Made Against the Heredias by Diaz…Diaz
                    caused his counsel to send a letter to GBP containing the following
     8              statements… This is yet another example of the abusive conduct Diaz
     9              and VGC have engaged in to further their defamatory campaign against
                    the Heredias… This lawsuit has been advanced on pure greed… the
    10              scheme devised by Diaz and VGC was designed to ruin the reputation of
    11              Heredias in the boxing community by fabricating allegations that
                    Heredia has “stolen” money and property from Diaz…. (Dkt. No. 146 at
    12              p. 69 ¶¶ 189-194; Dkt No. 145 at p. 76 ¶¶ 189-194.)
    13 III.   PROCEDURAL BACKGROUND
    14        On August 15, 2022, the Court issued an Order granting, in part, Defendants’
    15 Motions for Judgment on the Pleadings (the “Order”). [See Dkt. 138.] The Court
    16 granted Diaz leave to amend the complaint. [Id.] Diaz filed a Second Amended
    17 Complaint on September 2, 2022. [See Dkt. 144.]
    18     On September 23, 2022, Defendants filed an Answer to Plaintiff’s SAC and
    19 Counterclaims. [See Dkt. 145 & 146.] After reviewing the lengthy Counterclaims,
    20 Plaintiff determined the specious allegations therein were subject to a motion to
    21 dismiss for failure to state a claim upon which relief can be granted pursuant to Rule
    22 12(b)(6), motion to strike pursuant to Rule 12(f), as well as a special motion to strike
    23 pursuant to California Code of Civil Procedure section 425.16 pursuant to California’s
    24 anti-SLAPP statute. [Declaration of Andrew D. White (“White Decl.”) ¶4.] Plaintiff
    25 sent Defendants a detailed meet and confer letter on October 3, 2022 explaining in
    26 detail the basis for his contemplated motions and inviting Defendants to schedule a
    27 time for a call to meet and confer pursuant to L.R. 7-3. [Id. at ¶4.] In order to have a
    28 meaningful meet and confer conference, Plaintiff also asked in anticipation of the
                                                  3
                                    PLAINTIFF’S MOTION TO DISMISS AND SPECIAL MOTION TO STRIKE
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     1 conference for Defendant to provide their position in writing with citation to legal
     2 authority to support their position. [Id. at ¶4.] Defendants did not respond to Plaintiff’s
     3 meet and confer letter. As a result, on October 7, 2022, Plaintiff emailed Defendants
     4 to confirm Plaintiff had not received a response to the meet and confer letters and
     5 would therefore interpret the failure to respond as Defendants’ refusal to meet and
     6 confer per L.R. 7-3. [Id. at ¶5.]
     7         Plaintiff then received a voice message from an attorney named David Keesling
     8 who purports to represent Defendants. [Id. at ¶6.] In his voice message, Mr. Keesling
     9 stated he is a Partner at the Federal Practice Group and that he had a copy of the meet
    10 and confer letters which he stated “looked pretty good.” [Id.] In his message, Mr.
    11 Keesling stated he wanted to coordinate a meet and confer conference to resolve the
    12 issue presented by Plaintiff and proposed to schedule a conference the next week, on
    13 either October 12 or 13, 2022. [Id.] Recognizing a conference on those dates would
    14 create a potential problem with Plaintiff’s October 14, 2022 deadline to file a response
    15 to the Counterclaims, in his message, Mr. Keesling offered to stipulate to extend
    16 Plaintiff’s filing deadline. [Id.]
    17         On October 7, 2022, after receiving Mr. Keesling’s phone message, Plaintiff
    18 called him back to have a conversation. [Id. at ¶7.] During the conversation, Mr.
    19 Keesling offered to draft a stipulation and order to allow Plaintiff a two-week extension
    20 from October 14, 2022 to October 28, 2022, to file a response to Defendants’
    21 Counterclaims. [Id.] During this conversation it was also agreed the parties would hold
    22 the L.R. 7-3 meet and confer conference on October 14, 2022. [Id.] During this
    23 conversation Plaintiff also notified Mr. Keesling that, in the event the parties could not
    24 obtain an order from the Court granting a stipulation by the end of the day on
    25 Wednesday, October 12, 2022, Plaintiff would need to prepare and file the
    26 contemplated motions so time was of the essence in preparing a stipulation and order
    27 for filing with the Court. [Id.]
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     1         Plaintiff did not receive the draft stipulation and order to extend Plaintiff’s
     2 deadline to respond to the Counterclaims until Tuesday, October 11, 2022 at 4:03 p.m.
     3 [Id. at ¶8.] Plaintiff sent back proposed changes to the draft stipulation on the morning
     4 of Wednesday, October 12, 2022, and Defendants filed the stipulation and order the
     5 same day. [Id.]
     6         On Thursday, October 13, 2022, as Plaintiff had not received indication that the
     7 order extending the deadline for Plaintiff to respond would be signed by this Court
     8 before the October 14, 2022 deadline, and Defendants declined alternative solutions
     9 short of filing the two contemplated motions, Plaintiff emailed the Court’s Clerk in a
    10 final effort to secure an extension of the deadline. [Id. at ¶9.] Thereafter, on October
    11 13, 2022, the Court graciously confirmed the order extending the deadline for Plaintiff
    12 to respond was approved and would hit the docket shortly. [Id.]
    13         After Plaintiff received confirmation from the Court that the order extending the
    14 deadline for Plaintiff to respond had been approved, on October 13, 2022, Plaintiff
    15 emailed Mr. Keesling to notify him the Court had approved the order and attached a
    16 copy of the signed order. [Id. at ¶10.] In the same email Plaintiff asked when Mr.
    17 Keesling was available the next week to hold an L.R. 7-3 meet and confer conference
    18 and provided Plaintiff’s availability of October 18 through 20, 2022. [Id.]
    19         Later in the day on October 13, 2022, Plaintiff spoke with Defendants’ counsel
    20 David Keesling. [Id. at ¶11.] During the call, Mr. Keesling advised he would review
    21 his schedule for the next week and respond to Plaintiff’s prior email with his
    22 availability to schedule a meet and confer conference in the next week. [Id.]
    23         On Tuesday, October 18, 2022, having heard nothing from Defendants’ counsel,
    24 Plaintiff followed up on previous emails seeking to schedule an L.R. 7-3 meet and
    25 confer conference. [Id. at ¶12.] Plaintiff asked Mr. Keesling if he was available on
    26 either October 19 or 20, 2022, to hold a meet and confer conference. [Id.] Plaintiff also
    27 advised Mr. Keesling that, to avoid the situation Plaintiff was put in before the
    28 stipulation extending Plaintiff’s deadline to respond was granted, if the parties were
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     1 not able to hold a meet and confer conference by 5:00 p.m. on Friday, October 21,
     2 2022, Plaintiff would interpret that as Defendants’ refusal to meet and confer forcing
     3 Plaintiff to prepare and file the motions contemplated. [Id.]
     4         On Monday, October 24, 2022, having received no communication from
     5 Defendants’ counsel since October 13, 2022, and having failed to respond to Plaintiff’s
     6 diligent efforts to schedule a timely L.R. 7-3 meet and confer conference, Plaintiff tried
     7 to call Mr. Keesling in a final effort to avoid having to burden the Court with this
     8 motion. [Id. at ¶13.] Mr. Keesling did not answer Plaintiff’s call, so Plaintiff left a
     9 detailed voice message. [Id.] As of the preparation of this motion Plaintiff has not
    10 received a return call or communication of any kind from Defendants and have not
    11 been able to hold an L.R. 7-3 meet and confer conference. [Id.]
    12         Plaintiff is mindful of the admonitions given by the Court in the Order [Dkt.
    13 138], and as it always does, has strived to act with the professionalism this Court
    14 expects. [Id. at ¶14.] It is not Plaintiff’s intention to burden the Court with unnecessary
    15 law and motion practice. However, the Counterclaims filed by Defendants are so
    16 severely deficient and violative of California’s anti-SLAPP statutes that Plaintiff was
    17 forced to take action to remedy such deficiencies. Plaintiff exhausted all efforts to meet
    18 and confer with Defendants pursuant to L.R. 7-3 before filing this motion. [Id. at ¶14.]
    19 Despite Plaintiff’s efforts, Defendants have forced the filing of this motion.
    20         Defendants’ Counterclaims at issue in this motion are just the type of
    21 unprofessional, inappropriate and personal attacks on Plaintiff and his counsel that the
    22 Court sought to discourage in the Order, and are exactly the type of lawsuit California’s
    23 anti-SLAPP statute is meant to discourage. Plaintiff respectfully requests that the
    24 Court grant this motion and dismiss the Counterclaims in their entirety based upon
    25 Rule 12(b)(6) and/or dismiss or strike the allegations of the Counterclaims as set forth
    26 below pursuant to Rule 12(f) and California Code of Civil Procedure §425.16.
    27 ///
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     1 IV.     DEFENDANTS’          COUNTERCLAIMS              SHOULD        BE     DISMISSED
     2         PURSUANT TO FRCP 12(B)(6).
     3         Under Rule 12(b)(6), a counter-defendant may move to dismiss for failure to
     4 state a claim upon which relief can be granted. A counterclaimant must state “enough
     5 facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly,
     6 550 U.S. 544, 570 (2007). A claim has “facial plausibility” if the claimant pleads facts
     7 that “allow[] the court to draw the reasonable inference that the defendant is liable for
     8 the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 663, 129 S. Ct. 1937, 173 L.
     9 Ed. 2d 868 (2009). Here, Defendants have not met their burden.
    10         A.    Defendants’ Counterclaims for Abuse of Process Fail.
    11         Defendants purport to bring abuse of process claims against Plaintiff based on
    12 the allegation that Diaz “undertook a specific legal procedure, i.e., he sued
    13 [Defendants] in this matter, Case No. 5:20-cv-02332-JWH-KK… Diaz intentionally
    14 used this legal procedure for an improper purpose that the procedure was not designed
    15 to achieve…” (See Dkt 146 ¶¶ 217-218; Dkt 145 ¶¶ 204-205.) But it is well settled that
    16 “the mere filing or maintenance of a lawsuit—even for an improper purpose—is not a
    17 proper basis for an abuse of process action.” Oren Royal Oaks Venture v. Greenberg,
    18 Bernhard, Weiss & Karma, Inc., 42 Cal.3d 1157, 1169 (1986). “Abuse of process
    19 claims include lawsuits involving improper uses of the tools afforded litigants…” once
    20 they are in a lawsuit. Maleti v. Wickers, 82 Cal. App. 5th 181, 230 (2022) (collecting
    21 cases) (emphasis in original); see also Bidna v. Rosen, 19 Cal.App.4th 27, 40 (1993).
    22 Defendants do not (and could not) make any allegations of misuse of the tools of
    23 litigation in order to support their purported claims for abuse of process. Bidna, 19
    24 Cal.App.4th at 40. Therefore, Defendants’ abuse of process claim fails.
    25         In addition, the tort of abuse of process is barred by the litigation privilege,
    26 which protects a “publication or broadcast .... in any ... judicial proceeding....” Cal.
    27 Civ. Code § 47(b)(2). Section 47(b)(2) is a defense to an abuse of process action.
    28 Pollock v. University of Southern California, 112 Cal.App.4th 1416, 1429-30 (2003)
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     1 (citing Abraham v. Lancaster Community Hospital, 217 Cal.App.3d 796, 824 (1990).)
     2 “The privilege is broadly applied to protect most publications within lawsuits provided
     3 there is some connection between the lawsuit and the publication.” Adams v. Superior
     4 Court, 2 Cal.App.4th 521, 529 (1992); Silberg v. Anderson, 50 Cal.3d 205, 212 (1990).
     5 “Doubts about the privilege’s applicability are resolved in favor of its use.” Pollock,
     6 112 Cal.App.4th at 1430; Lucky Kim Int’l, Inc. v. SEO in Corp., 2010 WL 11549638,
     7 at *3 (C.D. Cal. June 3, 2010) (finding cause of action for abuse of process arose from
     8 litigation activity “because it arises when one uses the court’s process for a purpose
     9 other than that for which the process was designed”).
    10         What is more, as discussed below, “it’s hard to imagine an abuse of process
    11 claim that would not fall under the protection of the [anti-SLAPP] statute.” Booker v.
    12 Rountree, 155 Cal. App. 4th 1366, 1370 (2007); Rohde v. Wolf, 154 Cal. App. 4th 28,
    13 35 (2007) (“Section 425.16 is construed broadly, to protect the right of litigants to the
    14 utmost freedom of access to the courts without [the] fear of being harassed
    15 subsequently by derivative tort actions.”). Therefore, Defendants’ abuse of process
    16 claim must be dismissed.
    17         B.    Defendants’ Counterclaims for Defamation/Business Disparagement
    18               are Barred.
    19         Defendants purport to assert claims for defamation/business disparagement
    20 against Plaintiff based on purported statements that they contend were published in the
    21 media on December 27, 2020, February 13, 2021 and July 9, 2021. [See Dkt 146 at ¶
    22 222; Dkt 145 at ¶ 209.] The statute of limitations for defamation, however, requires
    23 that an action be filed within one year of accrual. Shively v. Bozanich, 31 Cal. 4th
    24 1230, 1246-47 (2003) (citing Cal. Code Civ. Proc. § 340 (c)). In a claim for defamation,
    25 as with other tort claims, the period of limitations commences when the cause of action
    26 accrues. Cal. Code Civ. Proc. § 312. It is well settled that a cause of action for
    27 defamation accrues at the time the defamatory statement is “published.” Bernson v.
    28 Browning-Ferris Industries, Inc. (1994) 7 Cal.4th 926, 931 (1994); Jolly v. Eli Lilly &
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     1 Co., 44 Cal.3d 1103, 1109 (1988). Therefore, Defendants’ defamation claims fail and
     2 must be dismissed.
     3         In addition, the statements that Defendants allege are defamatory are: “Watch
     4 who you are dealing with cause a lot of people aren’t what they make themselves out
     5 to me”; “a lot of people that want to take a part of my exposure and talent and make
     6 some money off of me because they feel like they can. I mean these guys are all greedy
     7 mother f[]’ man and its [sic] bull[]”; “for a manager to come in here and try to rob me
     8 and take my money is f[]ing wrong”; “Life [sic] been good after I got rid of s[]t
     9 managers and got advisors & my own lawyers to protect me. To all the young fighters
    10 that aren’t knowledgeable make sure you have your own lawyer before signing to any
    11 management or promotional company for your best interest.” [Dkt 145 ¶ 209; Dkt 146
    12 ¶ 222.] These are undoubtedly statement of opinion.
    13         Statements of opinion are not actionable statements. Indeed, statements of
    14 opinion are protected by the First Amendment. Partington v. Bugliosi, 56 F.3d 1147,
    15 1153 (9th Cir. 1995). “Even if a statement of pure opinion is harmful to a person’s
    16 reputation, it cannot give rise to a claim for defamation.” ZURU, Inc. v. Glassdoor,
    17 Inc., 2022 U.S. Dist. LEXIS 121871 (N.D. Cal. July 11, 2022) (citing Gardner v.
    18 Martino, 563 F.3d 981, 988 (9th Cir. 2009) (affirming dismissal of a defamation claim
    19 because the claim was based on statements of “nonactionable opinion”); Summit Bank
    20 v. Rogers, 206 Cal. App. 4th 669, 695-96 (2012) (“Although statements of fact may be
    21 actionable as libel, statements of opinion are constitutionally protected.”).)
    22         Moreover, the statements alleged by Defendants do not specifically refer to
    23 either of them. [Dkt 145 ¶ 209; Dkt 146 ¶ 222.] To be defamatory, “[t]he statement
    24 also must specifically refer to or concern the defamed plaintiff in some way.” Blatty v.
    25 New York Times Co., 42 Cal.3d 1033, 1042 (1986). Defendants’ defamation claims
    26 fail and must be dismissed.
    27 ///
    28 ///
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     1        C.     Defendants’ Counterclaims for an Accounting are Improper and
     2               Must Be Dismissed.
     3        A cause of action for an accounting requires a showing that a relationship exists
     4 between the parties that requires an accounting, and that some balance is due the
     5 plaintiff that can only be ascertained by an accounting. Teselle v. McLoughlin, 173
     6 Cal.App.4th 156, 179 (2009) (citing Brea v. McGlashan, 3 Cal.App.2d 454, 460
     7 (1934)). “An action for accounting is not available where the plaintiff alleges the right
     8 to recover a sum certain or a sum that can be made certain by calculation.” Teselle, 173
     9 Cal.App.4th at 179 (citing St. James Church of Christ Holiness v. Superior Court, 135
    10 Cal.App.2d 352, 359 (1955)). Here, Defendants allege the sums certain that they
    11 purportedly “loaned” to Diaz, which they seek to recover. (Dkt 146 ¶¶ 204, 236-238;
    12 Dkt 145 ¶ 217.) Defendants’ claims for an accounting are therefore improper and must
    13 be dismissed.
    14        D.     Defendant Heredia’s Breach of Oral Contract Counterclaim is
    15               Fatally Uncertain.
    16        In the first claim in his SAC, Heredia purports to allege breach of an oral contract
    17 by vaguely alleging that he paid monies to certain individuals and entities on behalf of
    18 Plaintiff. [Dkt 146 ¶¶ 203-210.] But in order to survive a motion to dismiss a breach of
    19 oral contract claim, Heredia “must allege the material terms of an agreement which
    20 creates the obligation the defendant is said to have breached.” Langan v. United Servs.
    21 Auto. Ass’n, 69 F. Supp. 3d 965, 979 (N.D. Cal. 2014) (dismissing a breach of contract
    22 claim when the complaint offers “no way for the Court [to] know even generally what
    23 the terms of the contract or contracts were.”) Heredia has not done so and the claim
    24 must be dismissed.
    25        To be sure, Heredia never details the material terms of any oral agreement he
    26 supposedly entered into with Diaz. For instance, Heredia fails to allege any facts
    27 regarding how the purported contracts were formed, the material terms of the purported
    28 agreements including but not limited to any purported repayment terms, and the date(s)
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     1 and manner in which Heredia contends that Diaz purportedly breached any oral
     2 agreement. See, e.g., N. Cty. Communs Corp. v. Verizon Global Networks, Inc., 685
     3 F. Supp. 2d 1112, 1122 (S.D. Cal. 2010) (finding that the defendant did not adequately
     4 allege a breach of contract claim where it failed to “plead, among other things, the
     5 nature of the contract, dates pertinent to the contract, and other relevant terms that
     6 would put [plaintiff] on notice of the basis of” the claim); Gottesman v. Santana, 2017
     7 U.S. Dist. LEXIS 104548, at * 8-9 (S.D. Cal. July 6, 2017) (finding allegations
     8 insufficient to allow a party to appropriately respond when, “[a]mong other things,
     9 these allegations do not provide any specifics regarding the material terms of the verbal
    10 contract between [the parties], much less when this contract was allegedly formed and
    11 breached”).) To the contrary, Heredia admits in his allegations that “Diaz became
    12 angry and said he did not want to pay Mr. St. Pierre,” yet, against Diaz’s wishes,
    13 “Heredia sent $2,000.00 to Mr. St. Pierre to mitigate the situation.” [Dkt 146 ¶¶ 175-
    14 176.] Heredia’s own allegations disprove the existence of an oral agreement with Diaz.
    15 Heredia has failed to adequately plead a claim for breach of oral contract.
    16         E.    Defendant Heredia’s Counterclaim for Attempted Extortion Fails.
    17         Heredia attempts to bring a claim for “attempted extortion” against Plaintiff
    18 alleging that “Diaz, or an agent of Diaz’s at Diaz’s specific direction” sent Heredia a
    19 “threatening communication” for purposes of obtaining “the cessation of any legal
    20 claims or defenses against Diaz by Heredia.” [Dkt 146 ¶¶ 212-215.] While it is not
    21 clear if there even is a recognizable cause of action for “attempted extortion,”
    22 California courts recognize extortion as civil tort cause of action for “moneys obtained
    23 by duress, a form of fraud.” Fuhrman v. Cal Satellite Sys., Inc., 179 Cal. App. 3d 408
    24 (1986) (disapproved on other grounds by Silberg v. Anderson, 50 Cal. 3d 205 (1990)).
    25 “Because extortion is in substance a fraud claim, it is subject to the heightened pleading
    26 requirements of Federal Rule of Civil Procedure Rule 9(b), which requires that
    27 allegations of fraud be made ‘with particularity.’” Media v. Barlow, 2021 U.S. Dist.
    28 LEXIS 243264, at *37 (C.D. Cal. May 1, 2021) (citing Fed. R. Civ. P. 9(b)). To satisfy
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     1 this standard, plaintiffs must allege “the who, what, when, where, and how of the
     2 misconduct charged.” Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1106 (9th Cir.
     3 2003). Here, Heredia purports to bring a claim for “attempted extortion,” but fails to
     4 make the necessary allegations to comply with the heightened pleading requirements.
     5 [Dkt 146 ¶¶ 212-215.]
     6         Moreover, Heredia fails to specifically allege what, if any, damages he suffered
     7 as a result of the purported attempted extortion. Fuhrman, 179 Cal.App.3d at 426
     8 (referring to the failure to pleading damages as the plaintiff’s extortion claim’s “fatal
     9 flaw”); Am. Shooting Ctr., Inc. v. Secfor Int’l, 2015 WL 1914924, at *4, *10 (S.D.
    10 Cal. Apr. 27, 2015) (dismissing counterclaim where the counterclaimant failed to
    11 allege “damages . . . proximately caused by the alleged attempted extortion”); Raiser
    12 v. Ventura Coll. of L., 2009 WL 10692058, at *2-3 (C.D. Cal. Sept. 1, 2009) (relying
    13 on Fuhrman and dismissing an “attempted extortion” claim for failure to allege
    14 damages). To the contrary, Heredia admits that he did not succumb to the purported
    15 attempted extortion and, instead of stopping “defending this legal action brought by
    16 Diaz,” Heredia filed counterclaims. [Dkt. 146 ¶¶ 202, 212-215.] Heredia’s claim for
    17 attempted extortion is not sufficiently plead and must fail.
    18         F.    The    Economic      Loss    Doctrine     Bars    Defendant     Heredia’s
    19               Counterclaim for Fraudulent Inducement.
    20         Heredia alleges that “[a]s a result of Diaz’s fraudulent concealment of his
    21 anticipatory breach of his agreement with the Heredias, and abandonment of his
    22 obligations to repay Heredia for the financial assistance Heredia had provided him
    23 with, Heredia has suffered actual damages.” [Dkt. 146 ¶ 234.] The economic loss rule
    24 limits a party to a contract “to recover[ing] in contract for purely economic loss due to
    25 disappointed expectations,” rather than in tort, “unless he can demonstrate harm above
    26 and beyond a broken contractual promise.” Robinson Helicopter Co. v. Dana Corp., 34
    27 Cal. 4th 979 (2004). Stated differently, a party to a contract generally cannot recover
    28 for pure economic loss—i.e., damages that are solely monetary—that resulted from a
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     1 breach of contract unless the party can show a violation of some independent duty
     2 arising in tort. Erlich v. Menezes, 21 Cal. 4th 543 (1999) (“[C]ourts will generally
     3 enforce the breach of a contractual promise through contract law, except when the
     4 actions that constitute the breach violate a social policy that merits the imposition of
     5 tort remedies.”) (quoting Freeman & Mills, Inc. v. Belcher Oil Co., 11 Cal. 4th 85
     6 (1995)). The rule “prevent[s] the law of contract and the law of tort from dissolving
     7 one into the other.” Robinson, 34 Cal. 4th at 988. Given that Heredia has only alleged
     8 he suffered economic losses, the economic loss rule bars his fraudulent concealment
     9 claim. Robinson, 34 Cal. 4th at 988.
    10        In addition, Heredia has fatally failed to allege with the requisite particularity
    11 the elements of this claim. Fed. R. Civ. P. 9(b). Heredia does not allege with any
    12 particularity the dates, amounts of monies, or the circumstances under which Heredia
    13 contends that Diaz supposedly fraudulently induced Heredia to provide him with the
    14 monies. [Dkt. 146 ¶ 229-234.] Heredia’s purported claim for fraudulent inducement
    15 must therefore be dismissed.
    16 V.     DEFENDANTS’ COUNTERCLAIMS ARISE FROM PROTECTED
    17        ACTIVITY AND MUST BE STRICKEN
    18        All of Defendants’ counterclaims should not just be dismissed but also stricken
    19 pursuant to California’s anti-SLAPP statute and fees awarded.
    20        California Code of Civil Procedure section 425.16(b)(1) provides that “[a] cause
    21 of action against a person arising from any act of that person in furtherance of the
    22 person’s right of petition … under the United States Constitution or the California
    23 Constitution in connection with a public issue shall be subject to a special motion to
    24 strike, unless the court determines that the plaintiff has established that there is a
    25 probability that the plaintiff will prevail on the claim.” Cal. Civ. Proc. Code §
    26 425.16(b)(1). Section 425.16, “was enacted to allow early dismissal of meritless first
    27 amendment cases aimed at chilling expression through costly, time-consuming
    28 litigation.” Metabolife Int’l, Inc. v. Wornick, 264 F.3d 832, 839 (9th Cir. 2001). While
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     1 “framed as a rule of state procedure, California’s anti-SLAPP statute protects
     2 substantive rights and thus applies in federal court.” Maloney v. T3Media, Inc., 94 F.
     3 Supp. 3d 1128, 1132 (C.D. Cal. 2015) (citing U.S. ex rel. Newsham v. Lockheed
     4 Missiles & Space Co., 190 F.3d 963, 973 (9th Cir. 1999). Anti-SLAPP motions may
     5 be brought against California state law claims filed in federal court. See Planned
     6 Parenthood Federation of Am., Inc. v. Ctr. for Med. Progress, 890 F.3d 828 (9th Cir.
     7 2018); Herring Networks, Inc. v. Maddow, 8 F.4th 1148, 110 Fed. R. Serv. 3d 341 (9th
     8 Cir. 2021); U.S. ex rel. Newsham, 190 F.3d at 970-73; Thomas v. Fry’s Elecs., Inc.,
     9 400 F.3d 1206, 1206-07 (9th Cir. 2005) (per curiam).
    10         A court evaluates an anti-SLAPP motion in two steps. Sarver v. Chartier, 813
    11 F.3d 891, 901 (9th Cir. 2016). First, the defendant must “make a prima facie showing
    12 that the plaintiff’s suit arises from an act by the defendant made in connection with a
    13 public issue in furtherance of the defendant’s right to free speech.” Id. The showing of
    14 protected activity is “not an onerous one.” Okorie v. L.A. Unified Sch. Dist., 14 Cal.
    15 App. 5th 574, 590 (2017). Indeed, the Ninth Circuit Court of Appeals has consistently
    16 determined that California’s anti-SLAPP statute must be “construed broadly.” Hilton
    17 v. Hallmark Cards, 599 F.3d 894, 905 (9th Cir. 2010); Mindys Cosmetics, Inc. v.
    18 Dakar, 611 F.3d 590, 595 (9th Cir. 2010) (“we follow the California Legislature’s
    19 direction that the anti-SLAPP statute be ‘construed broadly’”); Manufactured Home
    20 Communities, Inc. v. County of San Diego, 655 F.3d 1171 (9th Cir. 2011) (“[t]he
    21 Legislature instructed courts that the statute ‘shall be construed broadly’”). Second, the
    22 court evaluates whether plaintiff has “establish[ed] a reasonable probability that the
    23 plaintiff will prevail on his or her ... claim.” Sarver, 813 F.3d at 901. In the second step,
    24 the burden is on the plaintiff to “demonstrate that each challenged claim based on
    25 protected activity is legally sufficient and factually substantiated. ... If [it is] not, the
    26 claim is stricken.” Baral v. Schnitt, 1 Cal.5th 376, 396 (2016). In making this showing,
    27 the non-moving parties must show that they have a reasonable probability of surviving
    28 defenses, specifically including the litigation privilege of California Civil Code Section
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     1 47(b). Kashian v. Harriman, 98 Cal. App. 4th 892, 906 (2002). If the motion is “based
     2 on alleged deficiencies in the plaintiff's complaint, the motion must be treated in the
     3 same manner as a motion under Rule 12(b)(6) except that the attorney’s fee provision
     4 of § 425.16(c) applies.” Planned Parenthood Fed’n of Am., Inc. v. Ctr. for Med.
     5 Progress, 890 F.3d at 834. Both prongs are satisfied here.
     6         A.    Defendants’ Counterclaims are Based on the Filing of Diaz’s
     7               Complaint and Statements Made During Litigation–A Protected
     8               Activity.
     9         California law holds that “all communicative acts performed by attorneys as part
    10 of their representation of a client in a judicial proceeding or other petitioning context
    11 are per se protected as petitioning activity by the anti–SLAPP statute.” Contreras v.
    12 Dowling, 5 Cal. App. 5th 394, 409 (2016) (quoting Cabral v. Martins, 177 Cal. App.
    13 4th 471, 480 (2009)). California “courts have adopted a fairly expansive view of what
    14 constitutes litigation related activities within the scope of section 425.16.” Neville v.
    15 Chudacoff, 160 Cal. App. 4th 1255, 1268 (2008). This includes “[s]tatements made in
    16 litigation, or in connection with litigation.” Bergstein v. Stroock & Stroock & Lavan
    17 LLP, 236 Cal. App. 4th 793, 803 (2015). Indeed, the “[p]leadings and process in a case
    18 are generally viewed as privileged communications.” Navellier v. Sletten, 106
    19 Cal.App.4th 763, 770 (2003). It is well-settled law that the act of filing a lawsuit is
    20 protected petitioning activity within the meaning of the California anti-SLAPP statute.
    21 Action Apartment Ass'n v. City of Santa Monica, 41 Cal. 4th 1232, 1249 (2007)
    22 (quoted in James Glidewell Dental Ceramics v. Keating Dental Arts, No. SACV11-
    23 01309-DOC, 2013 WL 655314, at *13 (C.D. Cal. Feb. 21, 2013))
    24         Here, the fact that Diaz’s alleged conduct is protected litigation activity is
    25 confirmed by the Counterclaims’ own allegations. (Dkt. No. 145 ¶¶ 158-166, 189-197;
    26 Dkt No. 146 ¶ 158-166, 189-197.) Defendants’ counterclaims are a plain attempt “to
    27 thwart [Diaz’s] fundamental right of access to the courts ....” Taheri Law Group v.
    28 Evans, 160 Cal. App. 4th 482, 491 (2008); Contreras, 5 Cal. App. 5th at 399
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     1 (“Contreras’s cause of action against Dowling arises out of protected activity, because
     2 the only actions Dowling himself is alleged to have taken are all communicative acts
     3 by an attorney representing clients in pending or threatened litigation. Such acts are
     4 unquestionably protected.”) (Emphasis added).            Accordingly, California’s anti-
     5 SLAPP statute is applicable to the Counterclaims made by Defendants herein and must
     6 be stricken.
     7         B.     Plaintiff’s Alleged Actions are Protected by the Litigation Privilege.
     8         California’s litigation privilege applies to “any communication (1) made in
     9 judicial or quasi-judicial proceedings; (2) by litigants or other participants authorized
    10 by law; (3) to achieve the objects of the litigation; and (4) that [has] some connection
    11 or logical relation to the action.” Action Apartment Ass’n, Inc. v. City of Santa
    12 Monica, 41 Cal. 4th 1232, 1241 (2007) (alteration in original); see also Cal. Civ. Code
    13 § 47(b). This privilege has been summarized as follows: “The requirement that the
    14 communication be in furtherance of the objects of the litigation is, in essence, simply
    15 part of the requirement that the communication be connected with, or have some
    16 logical relation to, the action, i.e., that it not be extraneous to the action.” Silberg v.
    17 Anderson, 50 Cal. 3d 205, 219–20 (1990). “The breadth of the litigation privilege
    18 cannot be understated. It immunizes defendants from virtually any tort liability
    19 (including claims for fraud), with the sole exception of causes of action for malicious
    20 prosecution.” Olsen v. Harbison, 191 Cal. App. 4th 325, 333 (2010); see also Rubin
    21 v. Green, 4 Cal. 4th 1187, 1194-95 (1993) (citing cases applying the litigation
    22 privilege of Section 47 broadly to include “communications with ‘some relation’ to
    23 an anticipated lawsuit”).
    24         The litigation privilege bars each claim against Diaz because, as here, “where
    25 the gravamen of the complaint is a privileged communication ... the privilege extends
    26 to necessarily related noncommunicative acts.” Rusheen v. Cohen, 37 Cal. 4th 1048,
    27 1062 (2006). Indeed, the privilege has been applied specifically in the context of abuse
    28 of process claims. Pollock v. University of Southern California, 112 Cal.App.4th 1416,
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     1 1431 (2003) (declaration “functions as written testimony,” is a “communication, not
     2 conduct,” and “is exactly the sort of communication the privilege is designed to
     3 protect”); Booker v. Rountree, 155 Cal. App. 4th 1366, 1370 (2007) (“it’s hard to
     4 imagine an abuse of process claim that would not fall under the protection of the [anti-
     5 SLAPP] statute.”); Rohde v. Wolf, 154 Cal. App. 4th 28, 35 (2007) (“Section 425.16
     6 is construed broadly, to protect the right of litigants to the utmost freedom of access to
     7 the courts without [the] fear of being harassed subsequently by derivative tort
     8 actions.”).
     9         Here, all of the claims against Diaz arise out of conduct or statements made
    10 during or contemplating litigation, including Diaz’s declaration under oath. These are
    11 exactly the types of communications the litigation privilege is designed to protect, and
    12 the anti-SLAPP statute is meant to preserve. The California Supreme Court “has
    13 definitively held [that] statements in relation to pending or upcoming litigation (a
    14 ‘public issue’) are covered by Section 425.16.” Briggs v. Eden Council for Hope &
    15 Opportunity, 19 Cal. 4th 1106, 1123 (1999) (“Any matter pending before an official
    16 proceeding possesses some measure of ‘public significance’ owing solely to the public
    17 nature of the proceeding, and free discussion of such matters furthers effective exercise
    18 of the petition rights section 425.16 was intended to protect.”) For such
    19 communications there is no “separate requirement that they be shown to be ‘an issue
    20 of public significance.’” Id.      Indeed, several courts have held that a letter or
    21 communications, sent in connection with pending or anticipated litigation is a
    22 communication protected under section 425.16(e)(1) and (e)(2). See, e.g., Equilon
    23 Enterprises v. Consumer Cause, Inc., 29 Cal. 4th 53, 67 (2002) (intent to sue notices
    24 are protected); Briggs, 19 Cal. 4th at 1123 (“communications preparatory to or in
    25 anticipation of the bringing an action” are protected). The statements at issue here and
    26 upon which the Counterclaims are based are all protected by both SLAPP suit
    27 protection and the litigation privilege.
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     1         C.    Defendants’ Cannot Meet Their Burden to Show That They Are
     2               Likely to Prevail on the Merits of Any of Their Counterclaims
     3         Because Plaintiff has satisfied the threshold showing above, the burden now
     4 shifts to Defendants to demonstrate that “there is a reasonable probability [they] will
     5 prevail on the merits at trial” by “show[ing] both that the claim is legally sufficient and
     6 there is admissible evidence that, if credited, would be sufficient to sustain a favorable
     7 judgment.” McGarry v. Univ. of San Diego, 154 Cal. App. 4th 97, 111 (2007). This
     8 second step is a “summary judgment-like” analysis. Baral, 1 Cal.5th at 384. “[A]
     9 plaintiff opposing an Anti-SLAPP motion cannot rely on allegations in the complaint,
    10 but must set forth evidence that would be admissible at trial.” Overstock.com, Inc. v.
    11 Gradient Analytics, Inc., 151 Cal. App. 4th 688, 699 (2007) (emphasis added). Plaintiffs
    12 must proffer a prima facie showing of facts supporting judgment in their favor.
    13 Navellier, 29 Cal. 4th at 89.
    14         Here, Defendants cannot meet their burden. Plaintiff’s right to file a lawsuit is
    15 undoubtedly protected and privileged activity. Further, Defendants cannot establish,
    16 with admissible evidence, a reasonable probability of prevailing because, for the same
    17 reasons explained above supporting Plaintiff’s motion to dismiss each cause of action
    18 based upon Rule 12(b)(6), Defendants’ claims fail as a matter of law. Wilder v. CBS
    19 Corporation, et al, 2016 WL 693070, at *11 (granting anti-SLAPP motion where
    20 plaintiff’s interference claim failed pursuant to Rule 12(b)(6) motion).
    21         Accordingly, Defendants cannot meet their burden to make a prima facie
    22 showing that the factual allegations in their Counterclaim have merit. Graham-Sult v.
    23 Clainos, (2014) 756 F.3d 724, 740-741. For each of these reasons, the Court should
    24 strike the Counterclaims pursuant to California’s Anti-SLAPP statute.
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     1         D.    Diaz is Entitled to Attorneys’ Fees Incurred in Bringing this anti-
     2               SLAPP Motion.
     3         The California anti-SLAPP statute mandates that the “prevailing defendant on a
     4 special motion to strike shall be entitled to recover his or her attorney’s fees and costs.”
     5 Cal. Civ. Proc. Code § 425.16(c)(1) (emphasis added). Thus, an award of attorneys’
     6 fees to the prevailing defendant is mandatory. The attorneys’ fees provision was
     7 intended “to discourage such strategic lawsuits against public participation by
     8 imposing the litigation costs on the party seeking to chill the valid exercise of the
     9 constitutional rights of freedom of speech and petition for the redress of grievances.”
    10 Ketchum v. Moses, 24 Cal. 4th 1122, 1131 (2001) (internal quotations and citation
    11 omitted). This provision applies in federal court. See U.S. ex rel. Newsham, 190 F.3d
    12 at 972-73; New.Net, Inc. v. Lavasoft, 356 F. Supp. 2d 1090, 1115 (C.D. Cal. 2004)
    13 (awarding mandatory attorneys’ fees to moving party); see also Metabolife Intern., Inc.
    14 v. Wornick 213 F.Supp.2d 1220 (S.D. Cal. 2002) (awarding “billed fees of $90,270,
    15 unbilled fees of $4,410, expenses of $3,893, fee application fees of $13,680, for a total
    16 of $112,253”); Rosenaur v. Scherer 88 Cal. App. 4th 260, 273 (2001) (affirming award
    17 of “costs and attorney fees in the total amount of $65,386.61”). Accordingly, Diaz
    18 requests that the Court also award his attorneys’ fees in the amount of $12,075.00
    19 incurred as a result of bringing this anti-SLAPP motion. [White Decl. ¶¶15-16.]
    20 VI.     CONCLUSION
    21         For the foregoing reasons, Plaintiff respectfully requests that the Court grant the
    22 motion to dismiss the Counterclaims pursuant to Rule 12(b)(6) and strike all of
    23 Defendants’ claims pursuant to California’s anti-SLAPP statute. Plaintiff also
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     1 respectfully requests that the Court order Defendants to pay Plaintiff for his attorneys’
     2 fees.
     3                                         Respectfully submitted,
     4 Dated: October 28, 2022                 VGC, LLP
     5
     6                                     By:___/s/ Andrew D. White_________________
     7                                        James L. Greeley
                                              Diyari Vázquez
     8                                        Andrew D. White
     9                                        Gina Simas
                                              Attorneys for Plaintiff,
    10                                        JOSEPH DIAZ, JR.
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     1                             CERTIFICATE OF SERVICE
     2
     3        I, Diyari Vázquez, hereby certify that on October 28, 2022, I electronically filed
     4 the foregoing with the Clerk of the Court using the CM/ECF system, which will send
     5 notification of such filing to the e-mail addresses denoted on the Electronic Mail Notice
     6 List, and I hereby certify that I have mailed the foregoing document to the non-
     7 CM/ECF participants indicated on the Manual Notice List.
     8
     9 Dated: October 28, 2022                 By:____/s/Diyari Vázquez______
    10                                              Diyari Vázquez

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